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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


  IN RE TALC-BASED POWDER
  PRODUCTS LITIGATION                                    MDL No. 3:16-md-02738
  ---------------------------------------------

                                                         NOTICE OF MOTION TO FILE
                                                            BRIEF UNDER SEAL


   TO: All Counsel of Record

   COUNSEL:

      PLEASE TAKE NOTICE that Defendants Johnson & Johnson and LLT

   Management, LLC, f/k/a LTL Management, LLC (collectively, “J&J” or

   “Defendants”), will move before this Court as soon as counsel may be heard,

   pursuant to Local Civil Rule 5.3(c), for an Order permitting Defendants to file

   under seal an unredacted copy of their post plenary hearing Brief regarding

   disqualification of Andy Birchfield and Beasley Allen.

      PLEASE TAKE FURTHER NOTICE that, in support of this Motion,

   Defendants will rely upon the accompanying Letter Brief of Susan

   Sharko.

      PLEASE TAKE FURTHER NOTICE that a Proposed Order is

   attached.

      PLEASE TAKE FURTHER NOTICE that oral argument is requested if

opposition is filed.
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                                  183400



                                  Respectfully submitted,

                                  /s/ Susan M. Sharko
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                                   & REATH LLP
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                                  Florham Park, NJ 07932
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                                  Attorneys for Defendants Johnson &
                                  Johnson and LLT Management, LLC,
                                  f/k/a LTL Management, LLC


Dated: May 17, 2024




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                                    183401
                         CERTIFICATION OF SERVICE

        I hereby certify that on May 17, 2024, a copy of the foregoing

  documents were filed electronically. Notice of this filing will be sent by

  operation of the Court’s electronic filing system to all parties indicated on

  the electronic filing receipt. Parties may access the filing through the

  Court’s system.


                                             /s/ Sean C. Garrett
                                             Sean C. Garrett
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                                             183402




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  Via ECF

  May 17, 2024

  Honorable Rukhsanah L. Singh, U.S. Magistrate Judge
  United States District Court- District of NJ
  Clarkson S. Fisher Building & U.S. Courthouse
  402 East State Street, Court Room 7W
  Trenton, NJ 08608

  Re: In re: Johnson & Johnson Talcum Powder Products
      Marketing, Sales Practices and Products Liability Litigation -
      MDL 2738

  Dear Magistrate Judge Singh:

             I write on behalf of the Johnson & Johnson Defendants in support of

 Defendants’ application to file under seal an unredacted copy of Defendants’ post

 plenary hearing Brief regarding the request for disqualification of Andy Birchfield

 and Beasley Allen.                Your Honor, in conjunction with Judge John C. Porto,

 Presiding Judge of the Civil Division of the Superior Court of Atlantic County, New

 Jersey, held a plenary hearing on J & J’s Motion to Disqualify Andy Birchfield and

 Beasley Allen from representing plaintiffs in the Talcum Powder Litigation over the

 course of three days; March 25, 2024; April 10, 2024; and May 3, 2024. The Courts

 directed J&J to provide any confidential/privileged impeachment material for in
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 camera review to be later addressed by the Courts. See Exhibit A, Excerpts of

 Transcript of April 10, 2024, plenary hearing, 52:8-13. Due to the confidentiality

 and privilege protections governing those billing records, affidavits/certifications

 authenticating and explaining those records, and e-mails, the materials were

 submitted to the Courts for in camera review on or about May 1, 2024, and labeled

 “Attorneys’ Eyes Only”.

          After conclusion of the plenary hearing on May 3, 2024, the Courts ruled

 that the materials submitted on May 1, 2024, should be treated as Attorneys Eyes

 Only to “maintain the privilege that’s been asserted.” See Exhibit B, Excerpts of

 Transcript of May 3, 2024, plenary hearing, 160:14-15. Furthermore, the Courts

 directed the parties at the May 3, 2024, hearing to file under seal their post plenary

 hearing brief in the event the brief “addresses something substantive that has

 been submitted with that [Attorneys’ Eyes Only] designation.” Id., at 161:1-8.

           On May 17, 2024, J&J filed a redacted version of their post plenary

 hearing Brief regarding disqualification of Andy Birchfield and Beasley Allen. The

 redactions in the Brief concern, inter alia, the impeachment materials referenced

 above.

           In accordance with the Courts’ directive to file the Brief under seal due to

 the references to the impeachment materials, J&J seeks permission to file an

 unredacted version of their post plenary hearing Brief under seal. The filing of an
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 unredacted version of Defendants’ Brief under seal comports with the

 requirements of L. Civ. R. 5.3(c), which permits sealing of materials when a party

 has shown disclosure would cause injury, a less restrictive alternative is not

 available, and a legitimate private interest which warrants the relief sought.

           Defendants submit disclosure of the substance of billing records and

 communications of one of its previous attorneys would reveal confidential

 information regarding this litigation as well as confidential business practices.

 Moreover, the Courts have already determined that these materials submitted in

 camera, including reference to them in the post plenary hearing Brief, maintain

 their privilege and are worthy of being filed under seal. See Exhibit B.

           Accordingly, Defendants respectfully request the Court grant permission

 to file an unredacted version of Defendants’ post plenary hearing Brief under seal.


                                                 Respectfully,

                                                 /s/
                                                 Susan M. Sharko

 SMS/scg
